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                 IN THE UNITED STATES DISTRICT COURT FOR THE
                            DISTRICT OF COLUMBIA
____________________________________
SAIFULLAH PARACHA (ISN 1094),         )
                                      )
                         Petitioner,  )
                                      )
                  v.                  )  Civil Action No. 04-2022 (PLF)
                                      )
DONALD J. TRUMP, et al.,              )
                                      )
                         Respondents. )
                                      )
____________________________________)


                                    JOINT STATUS REPORT
        On May 30, 2019, the Court issued a Memorandum Opinion and Scheduling Order (ECF

No. 515) that, inter alia, required the parties to file joint status reports apprising the Court of

their progress on the matters addressed in that order. Pursuant to that order, the parties filed the

first joint status report on July 1 (ECF No. 519), and the second joint status report on August 1

(ECF No. 520). This constitutes the parties’ third joint status report, which is due on September

4.

                                        Respondents’ Update

     I. Discovery Update

        Since the August 1 joint status report, Respondents have produced additional documents

to Petitioner’s counsel (detailed below) pursuant to Respondents’ ongoing discovery obligations

under sections I.D.2 and I.E.1 of the Amended Case Management Order (Amended CMO). To

implement these obligations, Respondents conducted updated searches for any new materials

required to be produced under the Amended CMO that have become reasonably available since

Respondents’ last searches. Respondents have completed their searches pursuant to Section

I.D.2 of the Amended CMO and have produced to Petitioner’s counsel the responsive documents
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resulting from those searches, except for some portions of documents for which Respondents

have filed a motion for exception from disclosure pursuant to Section I.F. of the Amended CMO

and the Court’s May 30, 2019, Memorandum Opinion and Scheduling Order. See ECF No. 522.

        Respondents have completed their searches pursuant to the Court’s June 12, 2019

discovery order (ECF No. 517) pertaining to paragraphs 11-13 of the order, with one exception

noted below. Respondents conducted reasonable searches of the reasonably available materials,

as well as of the relevant agencies’ databases and materials, for responsive information. With

respect to paragraph 11, Respondents have produced the results from these searches. With

respect to paragraphs 12-13, Respondents searched for any reports of such records, if they exist,

and have produced any such reports resulting from these reasonable searches. However, there

remain two potentially responsive sensitive documents that Respondents’ counsel have been in

the process of obtaining appropriate clearances to gain access to. As soon as Respondents’

counsel gain access to these two remaining documents, Respondents’ counsel will determine if

they are in fact responsive to the Court’s order, and if they are responsive, Respondents will

submit them for clearance to be produced to Petitioner’s counsel as soon as practicable.

        Respondents have produced to Petitioner’s counsel, via the CISO, the following since the

July 1 joint status report:

        August 2, 2019: 12 new classified documents and one less-redacted classified document

(that was previously produced) pursuant to Sections I.E.1 and/or I.D.2 of the Amended CMO.

        August 6, 2019: a classified version of footnote no. 2008 (with some redactions) of the

Senate Select Committee on Intelligence (“SSCI”) Executive Summary of the Committee Study

on the CIA’s Detention and Interrogation Program, and a classified substitute for the remaining

redacted portions of footnote no. 2008, both produced consistent with the June 12, 2019



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discovery order; three additional classified substitutes for redacted portions of previously

produced documents, produced pursuant to Sections I.E.1 and/or I.D.2 of the Amended CMO.

         August 12, 2019: two classified substitutes for redacted portions of previously produced

documents, and 28 less-redacted versions of previously produced documents, pursuant to

Sections I.E.1 and/or I.D.2 of the Amended CMO.

         August 13, 2019: one classified document pursuant to Sections I.E.1 and/or I.D.2 of the

Amended CMO.

         August 14, 2019: a revised classified substitute for the remaining redacted portions of the

SSCI footnote no. 2008, 48 new classified documents, and four classified substitutes for redacted

portions of four of the 48 documents, pursuant to Sections I.E.1 and/or I.D.2 of the Amended

CMO and pursuant to the June 12, 2019 discovery order.

         August 14, 2019: Respondents filed an ex parte motion for exception from disclosure

(see ECF No. 522) for redacted information in certain documents, including redacted information

in SSCI footnote no. 2008, pursuant to Section I.F. of the Amended CMO and the Court’s May

30, 2019 Memorandum Opinion and Scheduling Order.

         August 22, 2019: 32 classified documents and three unclassified documents pursuant to

Sections I.E.1 and/or I.D.2 of the Amended CMO and pursuant to the June 12, 2019 discovery

order.

         August 23, 2019: 14 classified documents and 10 unclassified documents produced

pursuant to Sections I.E.1 and/or I.D.2 of the Amended CMO and pursuant to the June 12, 2019

discovery order.

         August 29, 2019: one classified declaration produced pursuant to Section I.E.1 of the

Amended CMO.



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       August 30, 2019: 12 classified documents, two classified substitutes for portions of two

of those documents, one less-redacted version of a previously produced classified document, and

three unclassified documents. Most of these documents were produced pursuant to the June 12,

2019 discovery order, and some were produced pursuant to Section I.E.1 of the Amended CMO.

       September 2, 2019: six unclassified documents (produced by electronic mail) pursuant to

Section I.E.1 of the Amended CMO.

       September 3, 2019: three classified documents and one unclassified document. One of

these documents was produced pursuant to the June 12, 2019 discovery order, and the others

were produced pursuant to Section I.E.1 of the Amended CMO.

       Respondents have also produced over a thousand pages of Petitioner’s unclassified

medical records.

       Respondents’ Witnesses

       Respondents do not plan on calling any live witnesses at the hearing in this case.

Respondents have produced declarations to Petitioner’s counsel that Respondents will be relying

upon as exhibits in this case.

       Petitioner Testimony

       On August 19, 2019, Petitioner’s counsel notified Respondents’ counsel that they do not

intend to call Petitioner or their experts as witnesses in this case, pending review of Respondents’

final disclosures. As explained above, Respondents only have two potentially responsive

discovery documents that may be disclosed after today. At some point soon, given the logistical

and technical issues that require advance notice to set up live testimony of the Petitioner from

Guantanamo Bay, Petitioner must unqualifiedly commit as to whether to testify or not at the

scheduled merits hearing that begins on October 21, 2019.



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         Page Limit of September 20, 2019 Pre-Trial Merits Brief

         The May 30, 2019 Memorandum Opinion and Scheduling Order sets a page limit of 45

pages for the pre-trial merits briefs for both parties, which are due on September 20, 2019.

Respondents are today filing a motion to expand this page limit to 60 pages for both parties.

Petitioner’s counsel has stated that they do not oppose this motion, but they do not seek to

expand the page limit.

         Uzair Paracha Criminal Trial Update

         The new trial in the Uzair Paracha criminal case remains scheduled to begin on March 23,

2020. See United States v. Paracha, 03-CR-1197 (SHS) (S.D.N.Y., Minute Entry of June 20,

2019).


                                        Petitioner’s Update

         Petitioner’s counsel has received a steady stream of disclosures from Respondents. The

overwhelming majority of the disclosures are classified, which necessitates travel from Ohio to

the secured facility for review. Petitioner’s counsel is working diligently to review the new

disclosures and anticipates being able to take a firm position soon on whether they will seek

testimony from Mr. Paracha at the October 21st hearing.


Dated: September 4, 2019

Respectfully submitted,

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